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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                         ) Case No. 20-12345 (MG)
                                                               )
THE ROMAN CATHOLIC DIOCESE OF                                  ) Chapter 11
ROCKVILLE CENTRE, NEW YORK,                                    )
                                                               )
                                   Debtor.                     )
                                                               )

      CERTIFICATION OF NO OBJECTION REGARDING (1) TWENTY-SIXTH
 MONTHLY FEE STATEMENT OF PACHULSKI STANG ZIEHL & JONES LLP FOR
   PROFESSIONAL SERVICES RENDERED AND DISBURSEMENTS INCURRED
  AS COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
FOR THE PERIOD FROM FEBRUARY 1, 2023 THROUGH FEBRUARY 28, 2023; AND
  (2) TWENTY-EIGHTH MONTHLY FEE STATEMENT OF BURNS BOWEN BAIR
 LLP, AS SPECIAL INSURANCE COUNSEL TO THE OFFICIAL COMMITTEE OF
      UNSECURED CREDITORS FOR PROFESSIONAL SERVICES RENDERED
          AND DISBURSEMENTS INCURRED FOR THE PERIOD FROM
              FEBRUARY 1, 2023 THROUGH FEBRUARY 28, 2023

         Pursuant to 28 U.S.C. § 1746 and Rule 9075-2 of the Local Bankruptcy Rules for the

Southern District of New York (the “Local Rules”) the undersigned counsel for the Official

Committee of Unsecured Creditors (the “Committee”) hereby certifies as follows:

         1.       On November 4, 2020, this Court entered the Order Authorizing Procedures for

Interim Compensation and Reimbursement of Expenses of Professionals [Docket No. 129] (the

“Interim Compensation Order”),1 which authorized professionals retained pursuant to an order of

this Court in the chapter 11 case to seek interim payment of compensation and reimbursement of

expenses in accordance with the procedures set forth in the Interim Compensation Order.

         2.       On March 30, 2023, the Committee filed the following Monthly Fee

Applications:




1
 Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Interim
Compensation Order.


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                      Pachulski Stang Ziehl & Jones LLP (“PSZJ”). Twenty-Sixth Monthly Fee
                       Statement of Pachulski Stang Ziehl & Jones LLP for Professional Services
                       Rendered and Disbursements Incurred as Counsel to the Official Committee
                       of Unsecured Creditors for the Period from February 1, 2023 through
                       February 28, 2023 [Docket No. 1966].

                      Burns Bowen Bair LLP. Twenty-Eighth Monthly Fee Statement of Burns
                       Bowen Bair LLP, as Special Insurance Counsel to the Official Committee of
                       Unsecured Creditors for Professional Service Rendered February 1, 2023
                       through February 28, 2023 [Docket No. 1967].


         3.       The Monthly Fee Applications were served on March 30, 2023 [Docket No.

1968].

         4.       The Monthly Fee Applications complied with the requirements set forth in the

Interim Compensation Order.

         5.       Pursuant to the Interim Compensation Order, the Objection Deadline for the

Monthly Fee Applications listed above was April 14, 2023. As of the filing of this certificate,

more than forty-eight (48) hours have elapsed since the Objection Deadline and, to the best of

my knowledge, no responsive pleading to the Monthly Fee Applications listed above has been

filed with the Court on the docket of the above-captioned chapter 11 case or (b) served on the

Committee, PSZJ, or BB.

         6.       Pursuant to the Interim Compensation Order, the Debtor is authorized to pay

eighty percent (80%) of the fees and one hundred percent (100%) of the expenses requested in

the Monthly Fee Applications upon filing of this Certificate of No Objection and without the

need for entry of a Court order approving the Monthly Fee Applications.


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        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.


Dated: April 18, 2023                         PACHULSKI STANG ZIEHL & JONES LLP


                                              /s/ Gillian N. Brown
                                              James I. Stang, Esq. (admitted pro hac vice)
                                              Karen B. Dine, Esq.
                                              Gillian N Brown, Esq.
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                                              Counsel to the Official Committee of Unsecured
                                              Creditors




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